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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

    UNITED STATES OF AMERICA,               Case No. 23-80101-CR
                                            CANNON/REINHART
    vs.

    DONALD J. TRUMP,
    WALTINE NAUTA, and
    CARLOS DE OLIVEIRA,

                Defendants.
    _____________________________________




           PRESIDENT TRUMP’S REPLY BRIEF IN FURTHER SUPPORT OF
                  MOTION TO DISMISS COUNTS 1–32 BASED ON
                      UNCONSTITUTIONAL VAGUENESS
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                                         INTRODUCTION

          President Donald J. Trump respectfully submits this reply in further support of his motion

   to dismiss Counts 1–32 of the Superseding Indictment based on the vagueness doctrine and

   President Trump’s “Q” clearance (the “Motion”), and in response to the opposition brief by the

   Special Counsel’s Office, ECF No. 377 (the “Opposition”).

          The Special Counsel’s Office starts out with the baseless and untenable claim that the

   “statute’s prohibitions are clear.” Oppn. at 1. Perhaps what the Office meant—and this would be

   closer to the truth—is that courts facing inapposite factual circumstances have tried to make

   § 793(e) clearer through “explicat[ions]” and “many judicial decisions” that have broadened the

   statute’s scope beyond the plain meaning of the text Congress chose. Oppn. at 2, 7. However, the

   Court will be writing on what is essentially a blank slate in the Eleventh Circuit, against the

   backdrop of the Supreme Court’s recent retrenchment on using “judicial gloss” to save statutes

   that Congress should have written more clearly, and in the context of a former President of the

   United States who relied on Article II power, Presidential Records Act discretion, executive

   privilege, and presidential immunity. Section 793(e) is unconstitutionally vague as applied to

   President Trump in each of Counts 1–32, and Count 19 fails to state a claim.

                                           DISCUSSION

     I.   No Amount Of “Judicial Gloss” Can Save § 793(e) As Applied To President Trump

       A. The Prosecution Ignores The Rule Of Lenity And Legislative History

          The Special Counsel’s Office concedes that § 793(e) is vague enough to require recourse

   to judicial “gloss” applied to a different statute by the Supreme Court more than 80 years ago in

   Gorin, but does not mention the Rule of Lenity—the “junior version of the vagueness doctrine,”

   United States v. Caldwell, 655 F. App’x 730, 732 (11th Cir. 2016)—even once. See Mot. at 1, 10-



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   11. The omission is telling because lenity is one of the driving forces behind the Supreme Court’s

   decisions in Davis and Johnson, which are two of the three recent residual-clause decisions that

   counsel strongly against continued judicial rewriting of congressional enactments.

          The Special Counsel’s Office also fails to address the complex and confusing legislative

   history of § 793(e). See Mot. at 4-5. Particularly after the recent residual-clause cases, it is

   significant that the record “raises serious doubts as to whether Congress had even a vague

   understanding” of the 1917 predecessor to § 793(e), and “virtually no understanding” of the

   language of § 793(e) itself. See id. at 5 (cleaned up). Given that history, judicial efforts to achieve

   a statutory interpretation that legislators in Congress did not agree upon are particularly fraught

   and, as applied to President Trump, incapable of avoiding constitutional infirmities. No Eleventh

   Circuit case requires that course, and the Court must not take it.

      B. The Authorization Clause Is Indeterminate On These Facts

          The term “unauthorized” did not provide fair notice to President Trump, and the Special

   Counsel’s Office is applying the Authorization Clause in the type of arbitrary manner that the

   vagueness doctrine is intended to protect against.

          The Special Counsel’s Office wholly mischaracterized the only Espionage Act case they

   cite in defense of the Authorization Clause, United States v. Ford, 288 F. App’x 54 (4th Cir. 2008).

   Oppn. at 8. In reality, Ford quoted Morison, where the Fourth Circuit reasoned that § 793(e) is

   “definite and clear” as applied to the argument in that case that the statute was limited to “classical

   spying.” 844 F.2d 1057, 1063-64 (4th Cir. 1988). That is not the issue here. In Ford, the Fourth

   Circuit concluded that § 793(e) was “definite and clear” with respect to the argument that the

   statute “does not criminalize retention.” 288 F. App’x at 56-57. Because the text of § 793(e)

   expressly prohibits retention, the clarity that the Ford panel perceived is irrelevant to this motion.



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            The contentions that follow the mischaracterization of Ford fare no better. The Special

   Counsel’s Office tried to cobble together dictionary definitions to assert that “unauthorized” means

   “without official approval or permission.” Oppn. at 8 (emphasis added). The inclusion of the term

   “official” is a self-serving leap not supported by the only case they cite, Nosal. There, the Ninth

   Circuit interpreted “without authorization” to mean “without permission,” which is a definition

   that includes lack of permission from the private party whose property is at issue. 844 F.3d 1024,

   1028 (9th Cir. 2016). However, the Office forced the word “official” into their made-up definition

   to try to use as a hook for invoking the National Security Act, 50 U.S.C. § 3161(a), which is not

   referenced in the Espionage Act, and Executive Order 13526, which has no textual basis in

   § 793(e) either. Oppn. at 9. In an effort to cover these gaps, the Office cites Department of Navy

   v. Egan. See Oppn. at 18. However, Egan concerned the impropriety of judicial review of

   Executive Branch security-clearance decisions, and the Court relied in part on the Civil Service

   Reform Act of 1978. 484 U.S. 518, 520 (1988). Egan does not support the Office’s argument that

   national security power derived from Article II serves as a basis for relying on Executive Order

   13526 to interpret a statute that makes no reference to Executive Branch input. All the stretching

   and straining by the Office—from dictionaries, to Nosal, to the National Security Act, to Executive

   Order 13526, to Egan—proves the point: upholding § 793(e) over President Trump’s individual

   as-applied vagueness challenges to Counts 1–32 would require putting words in Congress’s mouth.

   That approach is no longer viable after Davis, Dimaya, and Johnson. See Mot. at 3, 6.

            The cobbled-together attempt by the Special Counsel’s Office fails as applied to President

   Trump.     As the Court already observed, President Trump was “once the country’s chief

   classification authority.” ECF No. 346 at 7. He occupied that role as to each of the documents at

   issue in Counts 1–32. The provision of the National Security Act cited by the Special Counsel’s



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   Office, 50 U.S.C. § 3161(a), does not authorize regulations binding Presidents or private parties.

   See 50 U.S.C. § 3163. As explained in our submissions relating to the Presidential Records Act,

   President Trump’s retention of the documents was not “unauthorized” under § 793(e), because he

   designated them as personal records pursuant to the PRA during his first term in Office.

          Pursuant to § 6.1(hh), Executive Order 13526 does not apply to “records” that are personal

   rather than “Presidential.” Thus, insofar as Executive Order 13526 applies “equally to former

   Presidents,” Trump v. United States, 2022 WL 4366684, at *8 (11th Cir. 2022), it does not apply

   at all to their personal records—which is exactly how DOJ and NARA treated personal records

   retained by, for example, President Clinton and President Reagan. Finally, the executive privilege,

   which is fully enforceable in the post-presidential timeframe, and presidential immunity, which

   President Trump had every reason to believe applied for the reasons set forth in our motion to

   dismiss based on that doctrine, made the concept of “unauthorized” possession even more vague

   with respect to President Trump. For all of these reasons, the Authorization Clause fails to provide

   fair notice and lacks adequate enforcement criteria.

      C. The Court Should Reject Further Judicial Expansion Of The NDI Clause

          The “judicial interpretations” identified by the Special Counsel’s Office do not, in fact,

   “narrow and clarify the text” of the NDI Clause.         Oppn. at 12.     Instead, these decisions

   impermissibly increased the scope of the statute in a manner that cannot be condoned. Gorin

   characterized “national defense” as a “generic concept of broad connotations” and asserted that

   the phrase includes materials “related [to] activities of national preparedness,” which itself is a

   nearly limitless phrase. 312 U.S. 19, 27-29 (1941). In Hitselberger, the court acknowledged that

   it “might be true” that the “judicial gloss” from Gorin had caused the NDI Clause to capture

   “innocuous information of alarming breadth.” 991 F. Supp. 2d 101, 105 (D.D.C. 2013). That



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   seems to have been the case in Rosen, where the court suggested that the NDI Clause reaches

   “matters relating to United States foreign policy and intelligence capabilities” that have nothing to

   do with the statutory term, “national defense.” 445 F. Supp. 2d 602, 620 (E.D. Va. 2006)

   (emphasis added). Perhaps the judge in Rosen felt obligated to follow the Fourth Circuit’s decision

   in Morison, where the panel seemed to consider the phrases “national defense materials,” “secret

   defense information,” and “national interest materials” to be synonymous. 844 F.2d at 1065. That

   is plainly wrong as a matter of statutory text. So too was the Morison panel’s assertion that “all

   vagueness may be corrected by judicial construction which narrows the sweep of the statute within

   the range of reasonable certainty.” Compare id. at 1071, with United States v. Davis, 139 S. Ct.

   2319, 2323 (2019) (“In our constitutional order, a vague law is no law at all.”). For these reasons,

   the Court should not follow the out-of-Circuit judicial extensions of the NDI Clause.

      D. The “Closely Held” Requirement Does Not Address President Trump’s As-Applied
         Challenges

          The only arguably restrictive interpretation of the NDI Clause that courts have applied is

   the “closely held” requirement—which is a judicial invention with no textual basis. The Gorin

   Court created this requirement out of whole cloth in order to address a First Amendment issue: the

   phrase “national defense information” is so broad that it arguably covers newspaper articles about

   war efforts and related conversations in the public square. While the “closely held” requirement

   has relevance to the ongoing discovery violations by the Special Counsel’s Office, as discussed in

   Classified Supplements, it does not fully address the vagueness of the NDI Clause as applied to

   President Trump.

          The position of the Office seems to be that, if a document is presented to a President, then

   the document contains “national defense information.” See Oppn. at 20 (arguing that it is an

   “obvious fact” that documents “presented to the sitting Commander in Chief . . . contained

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   national-security information that the Government keeps closely held”). No intelligible principle

   could be articulated to explain why, for example, certain documents relating to the President’s

   Daily Brief (“PBD”) are charged in the Superseding Indictment, while at the same time the CIA’s

   website includes John Helgerson’s book describing specific PDB topics on specific days during

   President Trump’s first term. 1 The Office’s “presentation” argument only further illustrates the

   unconstitutional ambiguity that has been read into the statute and the failure of the NDI Clause to

   provide enforcement criteria.

       E. The Entitlement Clause Is Not Limited To The “Classification System”

          Having argued repeatedly, and correctly, that § 793(e) is not limited to classified

   information, e.g., ECF No. 373 at 4-5, the Special Counsel’s Office nevertheless tries

   unsuccessfully to defend the Entitlement Clause on the basis that it is governed by the

   “classification system” of Executive Order 13526. Oppn. at 14-15. The argument has no more

   merit for the Entitlement Clause than it does for the Authorization Clause. There is no textual

   basis for that leap in the Espionage Act, and no Eleventh Circuit case requires it.

          The Special Counsel’s Office seizes on Rosen and cases relying on it. See Oppn. at 14-15.

   In Rosen, the court interpreted the phrase “not entitled to receive,” which parallels the

   Authorization Clause of § 793(e) rather than the Entitlement Clause. 2          The argument that

   Executive Order 13526 “restricts access” to classified information says nothing about who is

   “entitled to receive” records that President Trump designated as personal under the PRA.


   1
    See JOHN HELGERSON, GETTING TO KNOW THE PRESIDENT 263 (disclosing that President Trump
   “seemed particularly interested in three pieces in the PDB,” including “manpower available to the
   ISIS terrorist group” and “oil prices”), https://www.cia.gov/resources/csi/static/Chapter-9-
   Getting-to-Know-the-President-Fourth-Edition.pdf.
   2
     The Special Counsel’s Office also makes the puzzling claim that “Morison did not rely on CIPA”
   for its flawed Entitlement Clause reasoning. Oppn. at 17. That is wrong. See 844 F.2d at 1074 &
   n.28. As with Ford, the Office misread Morison. See Oppn. at 8.
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          President Trump does not need to “claim that he attempted to return the documents . . . to

   the wrong individual” to demonstrate this aspect of the statute’s vagueness. Oppn. at 15 n.6. The

   issue is that § 793(e) offers no clarity regarding who is “entitled to receive” a former President’s

   personal records under the PRA, pursuant to designations covered by presidential immunity, which

   are also subject to invocation of the executive privilege. Section 793(e) does not authorize

   interpretive promulgations by the Executive Branch, and the lone interpretive authority cited by

   the Office—Executive Order 13526—does not apply to records designated as personal under the

   PRA. In claiming that there is “no authority” for the existence of this conflict, Oppn. at 16, the

   Office conveniently overlooks the positions taken by DOJ and NARA with respect to President

   Reagan and President Clinton, and by the White House Counsel with respect to President Biden.

          Finally, Executive Order 13526 adds neither notice nor specificity to the Entitlement

   Clause (or the Authorization Clause) because it relies on “need to know” determinations that are

   standardless, entirely subjective, and lacking in enforcement criteria. Time and again in this case,

   the Special Counsel’s Office has cited the “need to know” concept. Not once, however, has the

   Office identified adequate governing standards to evaluate those determinations other than to

   assert that the Court and the parties should take their word for it.

      F. The “Actual Notice” Arguments Are Inapposite

          It is no response to President Trump’s arguments regarding the as-applied vagueness in

   § 793(e) for the Special Counsel’s Office to claim that he was, allegedly, “personally on notice

   concerning the importance of proper handling of classified national defense information,” that

   certain of the documents contained classification markings, and that the “contents of the

   documents” are sensitive in the Office’s view. Oppn. at 19-20. The Office also emphasizes the

   purported significance of the fact that President Trump “obtained the charged documents during



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   his term . . . through intelligence briefings,” id. at 19, while at the same time improperly seeking

   to withhold information regarding these briefings pursuant to CIPA § 4. None of these claims

   speak to the actual text of § 793(e). They are all emblematic of the Office’s position that virtually

   anything that is arguably classified can be the subject of a § 793(e) prosecution regardless of the

   vague language chosen by Congress.

          As the Court is aware, evidence relating to briefings, classification status, and the handling

   of these documents is central to the pending motions to compel, and the emphasis on these issues

   by the Special Counsel’s Office in response to a pretrial motion only underscores the extent to

   which the evidence sought in those motions is discoverable. But these issues are not crucial to

   President Trump’s vagueness motion. These as-applied challenges to each of Counts 1–32 are

   addressed to the lack of fair notice and enforcement criteria for, collectively, the Authorization

   Clause, the NDI Clause, and the Entitlement Clause. The alleged sensitivity of documents when

   they allegedly passed through the Oval Office says nothing with respect to whether President

   Trump was authorized to retain them, the scope of the NDI Clause, and who was entitled to receive

   the personal records of a former President for the first time in history. Accordingly, the Office’s

   “personally on notice” arguments miss the mark.

      G. Kolender Supports President Trump’s Motion

          In response to President Trump’s arguments regarding the lack of enforcement criteria in

   § 793(e), the Special Counsel’s Office cites Kolender v. Lawson for the proposition that “[d]ue

   process requires legislatures to ‘establish minimal guidelines to govern law enforcement.’” Oppn.

   at 23 (quoting 461 U.S. 352, 358 (1983)). We could not agree more. The Kolender Court added:

   “[w]here the legislature fails to provide such minimal guidelines, a criminal statute may permit a

   standardless sweep [that] allows policemen, prosecutors, and juries to pursue their personal



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   predilections.” 461 U.S. at 358 (cleaned up). In Kolender, the statute “contain[ed] no standard”

   for the relevant issue. Id. Similarly, § 793(e) contains no standards for the three separate clauses

   challenged by President Trump. President Trump is being prosecuted “at the whim” of the Office,

   id., based on prosecutors’ subjective and politically motivated views regarding indeterminate

   statutory terms and standardless concepts in Executive Order 13526 such as “need to know.”

      H. Mens Rea Does Not Cure All Vagueness Ills

          The Special Counsel’s Office argues that the willfulness language in § 793(e) “alleviates”

   and “may mitigate” the statute’s vagueness problems, and that willfulness is “for the jury to

   resolve.” Oppn. at 21, 22 (cleaned up). These contentions ignore the Eleventh Circuit’s reasoning

   that “by the requirement of proof beyond a reasonable doubt, the promise of due process later on

   does not obliterate the vagueness doctrine altogether.” League of Women Voters of Fla. Inc. v.

   Fla. Sec’y of State, 66 F.4th 905, 948 (11th Cir. 2023) (cleaned up).

          Here, mitigation and alleviation are not enough. “[T]he presence of a bad purpose or evil

   intent alone may not be sufficient.” Screws v. United States, 325 U.S. 91, 103 (1945). In Cohen

   Grocery, the Supreme Court struck a statute, notwithstanding a willfulness element, because the

   remaining language left open “the widest conceivable inquiry, the scope of which no one can

   foresee and the result of which no one can foreshadow or adequately guard against.” 255 U.S. 81,

   89 (1921). So too here.

          It bears repeating that willfulness was not what persuaded the Gorin Court to reject a

   vagueness challenge.      There, the Court relied on a scienter requirement that required the

   prosecution to prove something far more specific: “intent or reason to believe that the information

   to be obtained is to be used to the injury of the United States, or to the advantage of any foreign

   nation.” 312 U.S. at 21 n.1. The lesser requirement of willfulness, which may have been sufficient



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   in other cases, does not adequately address the sui generis problems presented by President

   Trump’s as-applied challenge to § 793(e).

    II.   Count 19 Should Be Dismissed

          Count 19 fails as a matter of law, pursuant to Rule 12(b)(3)(B)(v), and retention of the

   document was not “unauthorized,” under § 793(e), because the Energy Department’s records

   demonstrate that President Trump maintained a “Q” clearance during the time period alleged in

   that Count. See, e.g., United States v. Berdeal, 595 F. Supp. 2d 1326, 1328 (S.D. Fla. 2009). The

   Special Counsel’s Office has elected to proffer evidence in response to this motion, and courts

   evaluate such proffers when prosecutors choose to make them. See Oppn. at 24; see also United

   States v. Perez, 575 F.3d 164, 166-67 (2d Cir. 2009). If the Court chooses not to evaluate the

   Office’s proffer at this stage, through a hearing or otherwise, then the Office’s opposition to this

   motion has reinforced the need for further disclosures regarding the Energy Department’s

   decision-making relating to President Trump and other Presidents because these disclosures are

   “material” to an important trial defense and “favorable” to President Trump under Brady and

   Giglio. See ECF No. 262 at 38-42; ECF No. 300 at 24-25.

                                            CONCLUSION

          For the foregoing reasons, the Court should dismiss Counts 1–32 of the Superseding

   Indictment as unconstitutionally vague and, to the extent necessary to resolve factual disputes

   relating to Count 19, should conduct a hearing regarding President Trump’s “Q” clearance.




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    Dated: March 13, 2024                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         I, Christopher Kise, certify that on March 13, 2024, I electronically filed the foregoing

   document with the Clerk of Court using CM/ECF.

                                                  /s/ Christopher Kise
                                                  Christopher Kise
